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I, Esaias Tucker, inmate number 21683017, case number 4:l2cr46-
O01, write this letter in regards to the status of my motion of
Compassionate Release. I filed a Compassionate Release motion on
behalf of my case and in the response from the courts my status
was to be considered pending upon the decision of the sentencing
commission proposal that goes into effect November 1, 2023. Tt
was said by the courts that my motion was factual, that my
sentence is extraordinary and compelling due to law changes. I
received a sentence of 240 months with 120 months of supervised

release. If I had been sentenced today I would not have received
the same sentence. My prior charge that was used to enhance my
sentence is no longer predicate. Simple drug offense was
replaced with serious drug offense to be predicate in enhancing a
sentence. Before the sentence commission proposal, it was said

that Judges didn't have the discretion to reduce sentences. This
proposal, also Congress gave Judges the ability in the Concepcion,
gives the Judges the discretion to reduce sentences for inmates
who have been incarcerated between the ages of 18-25 and have been
incarcerated for over 120 months. I've been incarcerated over 11
years now, I have low custody and low recidivism, and also have
been clear of disciplinaries. November 1 has arrived and the
sentencing commission proposal is in effect. If my motion is
granted and a reduction is considered, my mandatory minimum would
be reduced from 240 months to 120 months and I'd be sentenced
within my sentencing guidelines. My sentencing guidelines would
be 168 months to 192 months. If granted and I'm resentenced
within my guidelines, I ask that my two level reduction for
accepting responsibility be factored in. I also ask for the twl
level drug reduction that was given to inmates in 2016 be factored
in as well. I wasn't able to receive the two level drug reduction
because of the mandatory minimum. So I write this letter as a
reminder that my motion for compassionate release status is
pending and, as of November 1, Judges have the discretion to
reduce sentences and rule on compassionate release motions. I
ask that my motion of Compassionate Release be taken into
consideration and looked into. Thanks in advance.

signature: fon Af, natesthv i, 2023

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